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the.family place                                                                            BOARD OF VIJIECTORS
                                                                                            PRESIDENT
  Where family violence stops                                                               Harold Gi11sb11rg
                                                                                            TREASURER
 September 15, 2021                                                                         Wes McC011111
                                                                                            SECRETARl'
                                                                                            Thomas McColl11111
                                                                                            V.P. COMMUN/Tl' ENGAGEMENT
                                                                                            Clarisa Li11de11meyer
  Dear Highland Dallas Foundation,                                                          V.P. DEVELOPMENT
                                                                                            Li11d.1·ay Jacm11a11
                                                                                            V .P. FACILl'J'/ES
  The Family Place would like to thank the Highland Dallas Foundation, a supporting         Jim Buddms
                                                                                            VY. HUMAN CAP/1'AL
  organization of the Dallas Foundation, for your long-standing support of our              David Oliver
  organization. Your grant donations for our emergency shelter medical and dental           V.P. LONG RANGE PLANNING
  clinics have enabled our organization to provide vital medical and dental care to our     Radltika Zaveri
  domestic violence clients. When your foundation donated Christmas gifts to our            \I.P. NOMINATIONS
                                                                                            Beli11da Grijji11
  clients, they were so grateful to receive such an unexpected surprise.                    V.P. PUBLIC AFFAIRS
                                                                                            Delia Jasso
  The collaboration between the Highland Dallas Foundation and The Family Place has         GENERAL COUNSEL
                                                                                            Kristi11 Ba11er
  been instrumental in providing services to our domestic violence clients and              Eric White
  promoting community awareness of domestic violence in our community. Because of           Sa11dra Aguirre
  our long-term community partnership, we have kept you apprised of our ongoing             Lisa An11strrmg
  challenges stemming from the COVID-19 pandemic as well as the damage that our             Mm,dy A11srin
                                                                                            Steve11 Bauer
  Safe Campus sustained from the winter storm Uri in February of 2021.                      Melinda Bell
                                                                                            La11rie Berger
                                                                                            Na11cy Bierma11
  The Family Place would like to formally request $1,000,000 from the Highland Dallas       J11/ie Bosche
  Foundation to be allocated in the following manner: $500,000 to provide funding for       Eric Chandler
  the repairs to our Safe Campus Emergency Shelter that was damaged in the February         Kerry Cole
                                                                                            Nicole Collin.v
  2021 storm, and $500,000 to support our Enduring Promise Campaign, which will be          Barbara D11rham
  designated to provide long-term funding for our on-site medical staff who provide         Mo11ika Flood
                                                                                            Theresa Flore.,·
  essential medical services to our clients. I have attached our Safe Campus Construction   Beth Garvey
  Budget, our 2020 At A Glance, and our Enduring Promise Campaign Information               La11ran Goldberg
  document for your review.                                                                 Carlos Gonzalez-Jaime
                                                                                            Michelle Goolsby
                                                                                            Rhonda Green
   We are incredibly grateful for the generosity that the Highland Dallas Foundation has    Tasha Grinnell
   shown to The Family Place over the years. Without your support, we would not have        Jo/111ese Howard
                                                                                            Stacee Johnson-Williams
   been able to successfully serve our domestic violence clients who are in desperate       Linda Knox
   need. We appreciate your commitment to helping and protecting the most vulnerable        Holly Kmg
                                                                                            Emily Mad11ro
   of our community.                                                                        Margo McC/i11to11 Stogli11
                                                                                            Mary McNulty
                                                                                            Sam Megally
   Sincerely,                                                                               Aaliyal, Mira11da
                                                                                            Mike Mo11tgo111ery
                                                                                            Tiffa11y Moo11
                                                                                            Elizabeth Saab
                                                                                            Natha11iel St. Clair
                                                                                            Kriste11 Sanger
                                                                                            Rya11 Scripps
                                                                                            Carol Seay
                                                                                            Lisa Si11gleto11
                                                                                            Ghousuddin Syed
                                                                                            Jill Ta11anbm1m
                                                                                            Sm11a11tha Wortley
                                                                                            A11a Yoder

                                                                                            Chief E\ecutive Ofjicer
                                                                                            Paige Flink
P.OBox 7999
 Dallas, Texas 75209
 2/4 559 2170
fax 214 443 7797
 www.ji1milypl11ce.org
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 Additional Materials for Review



 (I) "The ceilings collapsed at a Texas domestic violence shelter. Where do the women go now?"

 February 19, 2021 news article documenting storm damage and the impact to The Family Place emergency shelter
 facilities and support services



 (II) 2021 Safe Campus Repair/Restoration Budget


 Breakdown of repair project budget and remaining expenses to complete restoration




 (III) 2020 At A Glance
 Summary of the services provided and clients served by The Family Place in 2020 (scope and impact of services
 and overview of client demographics)




 (IV) An Enduring Promise Foundation Campaign Overview
 Overview of foundation campaign currently underway to provide critical funds to cover funding gaps and
 unforeseen capital expenditures while allowing for innovation and expansion as North Texas grows
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  NEWS

  The ceilings collapsed at a Texas domestic violence
  shelter. Where do the women go now?
  For victims and their children, The Family Place was a refuge
 Caroline Kitchener          February 19, 2021

 When women arrive at the Family Place, Ashley Jackson hands them a folder with a code to their

 room. There are fresh sheets and towels waiting for you, Jackson tells them. Your bed is already

 made.


 You can sleep, she says — and you will be safe.


 Walking into the Dallas domestic violence shelter at 3 p.m. on Tuesday, Jackson found dozens of
 sheets and towels, drenched and balled up on the ground. The pipes had burst. Water was
 gushing through the hallways and seeping under doors. In several rooms, the ceiling had buckled,
 splattering insulation across the carpet like vomit. Women frantically gathered their sopping-wet
 blankets and sweaters as the shelter’s fire alarm, set off by the sprinklers, wailed in the
 background.


 Some started saying they wanted to leave. Jackson tried to talk them out of it, knowing they might
 go back to their abusers.


 “That’s the whole reason they’re here,” she said. “They don’t have anywhere else to go.”


 With three branches in Dallas that serve up to 250 people, the Family Place is at the center of a
 winter weather crisis that has pummeled much of the South since Sunday, killing at least 47
 people and leaving millions without water and electricity. The shelter’s largest branch lost power

 on Monday. On Wednesday afternoon, 123 women and children crammed into a few rooms that

 had escaped severe water damage. They had to evacuate, Jackson said. But where would they go?


 The shelter is designed to make families safe and comfortable. Many women arrive with bruising
 on their face and arms, young children in tow. When they fill out their paperwork, Jackson said,

 they’re often so anxious they have to ask three times for the date. As an advocate, Jackson said,

 the best part of her job is assuring victims that they can finally relax: No one can find them here.
 Nothing can hurt them. They have time and space to breathe while they figure out their next

 move.


 Now they are sleeping on cots in a church, six inches apart.



                                                                                                          1
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  The living room at The Family Place domestic violence shelter after it was devastated by the storm in
  Dallas, Tex., on February 17, 2021. (Paige Flink/The Family Place)




                                                                                                          2
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  The living room at The Family Place domestic violence shelter in Dallas, Tex. (Judy Walgren/The
  Family Place)


  “They were already living in a chaotic situation, and then this happens,” said Family Place chief
  executive Paige Flink.


  Flink took to Twitter as soon as she heard about the flooding. Tagging a host of local officials and state
  lawmakers, she explained the shelter’s situation and asked for help. Within minutes, she said, she
  heard from a local pastor, who offered up his church as temporary housing. Two hours later, the
  women and children were boarding buses to the new location.




                            Paige Flink
                            @paigeflink

                     We need help at @family_place! We have NO power in our
                     emergency shelter. We have 123 women and children who
                     are FREEZING! And, our sprinkler system is about to burst!
                     @JudgeClayJ @ERCOT_ISO @Johnson4Dallas @DallasMayor
                     @ColinAllredTX @JohnCornyn @GovAbbott HELP!!! Please
                     HELP!
                     1:58 PM · Feb 16, 2021

                         154         19       Share this Tweet



                                                                                                               3
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  It was not an ideal solution. As soon as women saw the conditions in the church, Jackson said, more
  began asking to leave. There are two bathrooms and two showers for 120 people, Flink said — and
  most of the women were used to privacy. They’d never lived communally with people they didn’t
  know. Especially in the middle of a pandemic, they expected to have their own space.


  The Family Place has not turned anyone away in the pandemic, Flink said, no matter their covid
  status. If they needed shelter, she said, the organization has found a way to house them. While the
  families had already been sharing communal spaces at the shelter, social distancing is much more
  difficult when you don’t have your own bedroom and bathroom.


 “They put their trust in us. We told them, ‘Get on this bus, we will take you somewhere that has heat
  and power and running water,’” Flink said. “Then they get there and they’re having to sleep in
  congregate living.”


  Many of the women haven’t been sleeping, Jackson said. They’ve been tossing and turning on their
  cots, required to wear masks through the night.


  Case managers at the Family Place have been meeting with each client individually to assess whether
  she has another place to go, Flink said. Some will mention a family member or a friend who has
  offered to take them in, but Flink worries those living situations won’t be as safe as the shelter.


  The Family Place purposely does not disclose its address to prevent abusers from finding clients who
  have fled. When clients call the shelter’s hotline and ask for a spot, she said, they send a Lyft to pick
  them up. The car takes them to a “safe location” near the shelter, so its exact whereabouts stay secret.
  With a public name and address that’s easy to Google, Jackson said, the church doesn’t have that
  kind of security. Talking to friends and family eager to know where they are, clients have been
  sharing their location. Jackson worries that abusers might start to show up unannounced.


  Before families can return to the shelter, Flink has to replace almost all the ceilings in the building,
  she said, after consulting with a contractor. While only a few gave way completely in the storm, many
  more have smaller drips, coming through the molding or the light fixtures. Those could collapse at
  any time, she said, adding, “We have to go back to the studs, or this is going to happen again.”




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  That process will take at least 12 weeks, she said — longer if the insurance company won’t quickly
  hand over the money she needs. In the meantime, she is hoping to house families in an extended-stay
  hotel. She’s not sure whether she can realistically raise enough money for that — it would take
  approximately $192,000 to house everyone for three months — but she is going to try.


  Domestic violence victims have already had to uproot their entire lives, Flink said. “I want to make
  sure the next stop is the last stop.”


  Flink went into the shelter on Wednesday to survey the damage. When she looked around, she said,
  she cried.


  There was plaster all over the sofas, in the potted plants — and a half-eaten hamburger on the dining
  room table.


  Flink couldn’t stop thinking about the woman who had sat down to eat it: She didn’t even have time
  finish her lunch before she had to flee.




                                             Caroline Kitchener
                                 Caroline Kitchener is a staff reporter at The
                                  Lily. Prior to joining The Washington Post
                                 in 2019, she was an associate editor at The
                                   Atlantic. She is the author of "Post Grad:
                                   Five Women and Their First Year Out of
                                                College."



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                                             The Family Place
                               2021 Safe Campus Repair/Restoration Budget



Revenue                                       Safe Campus     Highland Dallas Foundation       Pending Requests
Insurance proceeds (less $5k deductible)      $   1,110,816
Mark Cuban Foundation - Generator                   250,000
The Moody Foundation                                125,000
The Hoglund Foundation                               20,000
Dallas Junior Forum                                   4,000
Vin & Caren Prothro Foundation                        1,000
Total Insurance Reimbursement and Foundations $   1,510,816

Anonymous Foundation Capital Request                                                            $         150,000
Anonymous Foundation Capital Request                                                                      150,000

Highland Dallas Foundation Request                            $                   500,000



Expenses
Remediation/Site Clean Up                    $     242,083
Reconstruction                                     788,347
New Flooring                                       170,319
Replacement Furniture                               89,202
Fire Watch/New Fire Alarm Panel                    188,375
Diesel Generator                                   258,288
Re-paint entire building                           156,401
Insulate Pipes in Ceilings                         115,485
Miscellaneous Cleaning and Repairs                  77,544
Cabling/SPF Modules/Update Security System          86,526
Therapy Rooms Expansion                              8,378
Replace/Repair Storage Sheds and Closets            52,684
Replace kitchen equipment                           16,000
Security                                            50,435
Computer/Technology                                 36,091
Occupancy                                          533,854
Total Expenses                               $   2,870,012
Project Surplus/(Deficit)                    $ (1,359,196)
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                                                  2020
                                                At A Glance
       The Family Place served 11,933 clients and was the only domestic violence service provider in North Texas to
        remain fully open during the pandemic. We never stopped accepting new clients into our three emergency
             shelters, and our counselors quickly pivoted to provide virtual services via phone and computer.

Residential Services                                                    Counseling Services
Our residential services not only provide safe shelter                  Victims who need services without shelter receive counseling
and meet basic needs but also offer childcare, legal                    and support at three counseling centers located in South
advocacy, medical and dental care, counseling and                       Dallas, Central Dallas and Collin County. All of our services
case management. Even though we reduced                                 are provided in English and in Spanish. Clients learn about
capacity in some rooms due to the pandemic, our                         the types of domestic violence, how to access resources and
shelter service numbers were only down 10% for the                      make safety plans, and how to process the trauma they have
year. We put more clients in hotel rooms to provide                     suffered. From March 18 to June 1, all counseling/case
safety when lethality warranted and our shelters                        management services were provided virtually. Face-to-face
were full—54 victims in 2020 compared to 36 in                          services started again in June based on client choice. Overall
2019. In 2020, 98% of clients exiting our shelters did                  counseling numbers increased 11.5% in 2020 compared to
not return to their abusers.                                            2019. In 2020, 98% of victims reported feeling safer after
                                                                        coming to The Family Place for counseling.
               Emergency Shelter
               678 Women, 56 Men, 786 Children                                             Community Counseling
               62,118 days of emergency shelter                                            1,671 Women, 83 Men, 504 Children
                                                                                           18,526 hours of counseling provided
               Transitional Housing
               78 Women, 5 Men, 135 Children                                               Battering Intervention & Prevention Program
               36,015 days of transitional housing                                         396 Men, 81 Women
                                                                                           8,758 hours of BIPP services provided
              Childcare & Education                                                       Dignity at Work
              241 enrolled at our Child                                                   243 clients provided with job readiness training
              Development Center
              85 mentored through the
              After School Program                                      Community Services
              23 attended The Learning Center
              38,136 hours of childcare provided                                           Be Project
                                                                                           4,791 students educated on healthy
              Medical Care                                                                 relationships
              778 people served by our nurses
                                                                                           Faith & Liberty’s Place
                                                                                           186 adults and 136 children provided with a
               Safety for Pets                                                             safe place for visitation and exchange
               35 animals stayed united                                                    with noncustodial parents
               with their families
                                                                                           Domestic Violence High Risk Team
                                                                                           114 victims at high risk of lethality accessed
               24-Hour Crisis Hotline                                                      support through emergency shelter, home visits
               9,595 Hotline and Crisis Calls                                              and counseling services


                Our Mission: The Family Place empowers victims of family violence by providing safe housing, counseling and skills that
                 create independence while building community engagement and advocating for social change to stop family violence.
                                familyplace.org | 214.559.2170 | 24-Hour Crisis Hotline: 214.941.1991
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                                        Client Demographics
                                        Since our inception in 1978, we have worked to bring our services
                                        to marginalized communities oppressed by systemic racism and
                                        poverty. 48% of our residential clients are African American
                                        women and 43% of our nonresidential clients are Hispanic.
                                        African American women are more likely to experience domestic
                                        violence than women of other races/ethnicities and are twice as
                                        likely to lose their lives to domestic violence than white women.
                                        They are more vulnerable due to financial insecurity because
                                        women and children are the poorest in our community, and
                                        women of color are the largest demographic of this group.

                                            Residential Client Demographics
                                                Ethnicity / All Clients
                                                                                48% African American
                                                                                21% White
                                                                                20% Hispanic
                                                                                7% Other
                                                                                2% Multiracial
                                                                                2% Asian

                                                Gender / Adults


                                                   94% Female             6% Male

                                            Nonresidential Demographics
                                                Ethnicity / All Clients

                                                                                43% Hispanic
                                                                                31% White
                                                                                18% African American
                                                                                5% Other
                                                                                2% Multiracial
                                                                                1% Asian

                                                Gender / Adults


                                                  95% Female              5% Male



                                                                 Scan to read more about our
                                                                 life-changing outcomes.
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                                                An Enduring Promise
                                                    The Family Place Foundation Campaign
The Need for Safety
What would you do if the person you loved most terrified you? Every day in Dallas more than 40 people call the police
department to try to stop the violence in their homes. What would you do if the person you loved most threatened to kill you? In the
past three years, 36 women, 8 men and 4 children lost their lives this way (Dallas Police Department).

Domestic violence is not a family issue but a community problem that makes us all less safe. It’s a contributing factor to every crisis
our society faces—poverty, racial inequity, educational challenges for children, homeless youth, human trafficking and
crime. The Family Place has the solution to this pervasive problem through a unique combination of services for our community.
Our Promise to Victims of Domestic Violence
The Family Place has protected families in North Texas since 1978. Since the beginning our mission has remained constant—to
provide the highest level of services possible to help every domestic violence victim become a survivor. We made a commitment to
provide the easiest access to services, the widest range of programming available, and the most innovative approach to healing.
Our goal is to remove every hurdle that could prevent a victim from living up to their full potential. In the past four decades, we have
enhanced programming, provided access to numerous resources, and advocated for social change. A few highlights include:
     • The Family Place is now the largest domestic violence service provider in Texas.
     • Our three emergency shelters provide 51% of all domestic violence shelter beds in Dallas and Collin counties.
     • We operate the state’s only domestic violence shelter for men and children.
     • Over 11,000 women, men and children access our services every year.
We promise to give every victim that walks through our doors the tools they need to lead productive lives. We promise to advocate
for victims, to eliminate domestic violence, and to convince the community that everyone deserves a safe home.
The Case for An Enduring Promise Campaign
Our operating budget has been historically well supported by a diverse group of funding sources including foundations,
corporations, civic organizations and individuals. But each of these funding categories contain inherent risk, made even more
apparent with the events of the past year. The Family Place will be the sole beneficiary of The Family Place Foundation’s An
Enduring Promise Campaign. The goal of $20,000,000 will ensure long-term stability so we can continue to provide lifesaving
services even during uncertain times. We vividly learned through the 2020 pandemic and 2021 Winter Storm Uri that The Family
Place is an essential service. We are frontline workers during times of crisis and must answer the call when needed. Your support
of this campaign allows The Family Place Foundation to provide critical funds to cover funding gaps and unforeseen capital
expenditures while allowing for innovation and expansion as North Texas grows.
Demand for Emergency Shelter has Grown

                    2000


                    1500
Number of Clients




                    1000


                     500


                      0
                           2016   2017   2018    2019      2020*
  *COVID-19 social distancing rules caused a decrease in shelter capacity
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                                                                              We’ve been saving lives for over 42 years.
                                                                                Your support will help us continue this
Making Every Home a Safe Home                                                    legacy for years to come.
Safety
    • Emergency Shelter—177 shelter beds to take women,                                   1978
                                                                                          We opened an emergency shelter
      children and men out of harm’s way                                                  and one of the first hotlines in Texas.
    • Transitional Housing—25 on-site apartments to help
      families rebuild their lives                                                        1982
                                                                                          Our first outreach center began
    • Hotline—24/7 bilingual hotline for crisis and information                           providing counseling services.
      and referral calls
    • Legal Services—In-house attorney and paralegal to assist                            1984
                                                                                          We launched the Battering
      victims with civil court matters                                                    Intervention and Prevention
    • Animal Kennel—On-site kennel for dogs and cats to keep                              Program.
      the entire family safe
                                                                                          1989
Breaking the Cycle of Violence                                                            The Family Place Resale Shop
    • Children’s Counseling—Proven and innovative therapeutic                             opened.
      methods to help children process their trauma                                       1993
    • Adult Counseling—Individual and group therapy for all                               HUD awarded funding to expand
      victims of domestic violence                                                        transitional housing, and our
                                                                                          Supportive Living Program began.
    • Child Development Center and Learning Center—
      Accredited childcare, K-2 school and after-school                                   1998
      programs for children in our shelters                                               The Be Project was created to
                                                                                          educate students on healthy
    • Dignity at Work—Job readiness program, mentoring and                                relationships, teen dating violence
      resume help to assist clients with their careers                                    and sexual assault.
    • Client Assistance—Financial support for rent, legal
      services and medical costs to help clients start anew                               2000
                                                                                          Sally’s House opened with 100 beds,
    • Scholarships—To complete and/or continue education                                  22 transitional apartments and
      and fulfill clients’ goals                                                          comprehensive support services.
Innovation                                                                                2003
    • Community-based Counseling—Satellite offices in                                     Faith and Liberty’s Place opened.
      targeted communities helping clients to overcome
      transportation barriers                                                             2010
                                                                                          Large family apartments and a K-2
    • Faith and Liberty’s Place—Providing supervised child                                Education Center were added to
      visitation and monitored exchange with non-custodial                                Sally’s House.
      parents                                                                             2013
    • Be Project—Educates North Texas students and educators                              A medical clinic opened at Sally’s
      about healthy relationships and teen dating violence                                House to meet the needs of our
      awareness                                                                           clients.
    • Battering Intervention and Prevention Program—First                                 2016
      and most successful program in the area that works with                             We opened a new counseling office
      abusers to prevent further violence                                                 in Collin County.
    • Medical and Dental Clinics—Helping clients receive                                  2017
      necessary medical care without leaving the safety of our                            Ann Moody Place opened with one-
      campuses                                                                            of-a-kind features like an animal
    • Domestic Violence High Risk Team—Brings together the                                kennel for victims’ pets, a medical
      Dallas Police Department, district attorneys, advocates,                            clinic, specially designed play therapy
                                                                                          rooms and more. We also opened the
      probation officers and the sheriff’s department to reduce                           first men’s shelter in Texas.
      domestic violence homicides
    • DV Beds—Online platform providing real time emergency                               2018
                                                                                          DV Beds was launched, providing
      shelter bed count for 20 agency and community partners                              real-time emergency shelter bed
      in Texas                                                                            count for area agencies.
                                                                                          2020
                                                                                          We opened a new, expanded
                  www.familyplace.org                                                     counseling office in Southern Dallas.
                  PO Box 7999, Dallas, TX 75209
                                                                                          2021
                  24-Hour Crisis Hotline: 214.941.1991                                    We reconstructed Sally’s House after
                                                                                          damage from Winter Storm Uri.
